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 Attorneys for Plaintiffs

                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAI‘I
 LIANE WILSON, and                            Case No. CV 11-00538 LEK BMK
 JOANNA WHEELER ON BEHALF
 OF THEMSELVES
                                              JOINT STIPULATION AND
                                              ORDER TO STAY DISCOVERY
                            Plaintiffs,       AND ALL OTHER COURT
       v.                                     DEADLINES PENDING PRIVATE
                                              MEDIATION
 WYNDHAM WORLDWIDE
 CORPORATION, WYNDHAM
 VACATION OWNERSHIP, INC.,
 WYNDHAM VACATION
 RESORTS, INC., MICHAEL
 JONAH, MARK POLLARD, TOM
 VIRAG, DOE I through X, and ROE
 BUSINESS ENTITIES I through X,
 inclusive,

                            Defendants.


   JOINT STIPULATION AND ORDER TO STAY DISCOVERY AND ALL
     OTHER COURT DEADLINES PENDING PRIVATE MEDIATION

             Pursuant to Federal Rule of Civil Procedure 26 and LR 10.4, Plaintiffs

 Liane Wilson and Joanna Wheeler and Defendants Wyndham Worldwide
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 Corporation, Wyndham Vacation Ownership, Inc., Wyndham Vacation Resorts,

 Inc., Michael Jonah, Mark Pollard, Tom Virag, DOE I through X, and ROE

 Business entities I through X, acting through their respective counsel of record,

 hereby stipulate and agree, subject to the approval of Court, that:

       (1)    All discovery in this action and court deadlines shall be stayed until

 February 21, 2013 to permit the parties to explore settlement through mediation;

       (2)    The parties have signed an agreement to mediate this matter with

 Keith Hunter, Dispute Prevention & Resolution, Inc. and are in the process of

 scheduling a mediation to commence before February 15, 2013, on the earliest

 date that all parties and the mediator are available;

       (3)    On or before the mediation date, the plaintiffs shall perform individual

 damages calculations for the mediation and then return the class-wide data

 previously produced in this matter to the Wyndham Defendants;

       (4)    No party shall file a motion to compel discovery until the stay has

 expired;

       (5)    No party shall serve requests for discovery until the stay has expired;

       (6)    The parties stipulate that if this matter is not settled and a stipulation

 to dismiss the action is not filed on or before February 21, 2013, the parties will

 jointly submit a proposed amended Rule 16 scheduling order to the Court for its

 consideration and ultimate entry; and



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       (7)   This Stipulation is made without prejudice to any party’s right to

 move to extend the stay of discovery.

       Dated: November 14, 2012. Respectfully Submitted:

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 APPROVED AND SO ORDERED:



                                   /s/ Barry M. Kurren
                                   United States Magistrate Judge
                                   Dated: November 20, 2012




 Wilson, et al. v. Wyndham Worldwide Corp., et al., Case No. CV 11-00538
 LEK BMK JOINT STIPULATION AND ORDER TO STAY DISCOVERY
 AND ALL OTHER COURT DEADLINES PENDING PRIVATE
 MEDIATION
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